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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                               UNITED STATES DISTRICT COURT                               October 27, 2022
                                SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                   BROWNSVILLE DIVISION

JOSE ANGEL CALDERON, et al.,                      §
                                                  §
        Plaintiffs,                               §
                                                  §
VS.                                               §   CIVIL ACTION NO. 1:22-CV-124
                                                  §
CENLAR FSB,                                       §
                                                  §
        Defendant.                                §

                                              ORDER

       On September 19, 2022, Defendant Cenlar FSB moved to dismiss Plaintiffs Jose Angel

Calderon and Erika Elizabeth Ramirez’s causes of action for failure to state a claim upon which

relief can be granted. (Motion, Doc. 4)

       Before Plaintiffs’ deadline to file a response to the Motion to Dismiss, the Court held a

status conference, at which the parties represented their belief that they would reach a resolution

of the issues in this lawsuit. Since then, the parties have not filed an update regarding their

attempts to resolve the lawsuit, and the Motion to Dismiss remains pending. As a result, it is:

       ORDERED that by no later than November 08, 2022, Plaintiffs Jose Angel Calderon and

Erika Elizabeth Ramirez shall file a response to the Motion to Dismiss (Doc. 4).

       The parties are reminded that under the local rules of this Court, “[f]ailure to respond to

a motion will be taken as a representation of no opposition.” See S.D. Tex. Loc. R. 7.4; see also J.

Rodriguez Loc. Civ. Proc. 7.B (“Failure to file a timely response shall be taken as an indication that

the opposing party agrees to the motion and the relief requested.”).

       Signed on October 27, 2022.


                                                      ____________________________
                                                      Fernando Rodriguez, Jr.
                                                      United States District Judge
